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                      Case 4:11-cr-00209-JM                     Document 1039           Filed 08/06/15        Page 2 of 2
  AO 245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
                Sheet 2- Impnsonment

                                                                                                     Judgment -   Page   2   of   2
  DEFENDANT: NICHOLAS HARVEY
  CASE NUMBER: 4:11cr00209-01


                                                                   IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
TWENTY-FOUR (24) MONTHS with no supervised release to follow




     'if The court makes the following recommendations to the Bureau of Prisons:
1.) The Court recommends that the defendant be placed the Butler, North Carolina Bureau of Prisions facility or in an
appropriate Bureau of Prisions facility considering his mental capacity.



     'if The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
            D    at    --------- D                  a.m.             D     p.m.    on
            D    as notified by the United States Marshal.

     D      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D    before 2 p.m. on
            D    as notified by the United States Marshal.
            D    as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                        to

  at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                                  UNITED STATES MARSHAL


                                                                                  By
                                                                                               DEPUTY UNITED STATES MARSHAL
